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                            UNITED STATE DISTRICT COURT
                                 DISTRICT OF IDAHO

 PLANNED PARENTHOOD GREAT NORTH-
 WEST, HAWAII, ALASKA, INDIANA, KEN-                     Case No. 1 :23-cv-00142-BLW
 TUCKY, on behalf of itself, its staff, physicians and
 patients, CAITLIN GUSTAFSON, M.D., on behalf            DECLARATION OF WILLIAM W.
 of herself and her patients; and DARIN L.               THOMPSON, JR.
 WEYHRICH, M.D., on behalf of himself and his pa-
 tients,
                  Plaintiffs,

 V.

 RAUL LABRADOR, in his capacity as the Attorney
 General of the State ofidaho; MEMBERS OF THE
 IDAHO STATE BOARD OF MEDICINE and
 IDAHO STATE BOARD OF NURSING, in their of-
 ficial capacities, COUNTY PROSECUTING AT-
 TORNEYS, in their official capacities,
                  Defendants.




       I, William W. Thompson, Jr., hereby declare and state as follows:
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         1.      I am the prosecuting attorney for Latah County, Idaho, and am named as a Defend-

ant .in this action.·

        2.       The Idaho Attorney General's Office never sent me a copy of the Attorney Gen-

eral's March 27, 2023 letter to Representative Brent Crane (the "Crane Letter").

        3.       I received that letter only in connection with this litigation.

        4.       I did not, and do not, regard the Crane Letter as any type of guidance or directive

to me or to my office from the Office of the Attorney General.

        5.       My office has taken no position regarding the scope of enforcement under Idaho

Code § 18-622.

        6.       My prosecutorial decisions are based on my own independent legal duty, interpre-

tation of the law, and discretion.

        7.       This is true no less with respect to any prosecution under Idaho Code § 18-622.

         8.      The Attorney General has no supervisory authority over my work as a prosecutor

or the power to direct me to initiate any prosecution without my consent.

         9.      I am aware of no prosecution, or threat of prosecution, brought by anyone in my

office against Plaintiffs under Idaho Code § 18-622.

         10.      None of the Plaintiffs in this action have facilities in my county.

         I declare under penalty of perjury that the foregoing is true and correct.

         Dated: May 3, 2023
